         Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 1 of 6



             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                     JONESBORO DIVISION

TROY JONES, Individually and
on behalf of All Others Similarly Situated                     PLAINTIFF

 v.                         No. 3:18-cv-24-DPM

HAGAMAN PROPERTY
DEVELOPMENT, LLC                                           DEFENDANTS


                   INITIAL SCHEDULING ORDER—
                     CLASS/COLLECTIVE ACTION

     1.     A defendant appeared on 23 March 2018. A draft Final
Scheduling Order, including a trial date, is attached. Plaintiff seeks to
pursue a class action and a collective action, and the draft Order sets
deadlines to move the case toward resolving the certification issues.
After the Court does so, it will issue an Amended Final Scheduling
Order setting all needed deadlines, including those for pre-trial filings.

     2.      The parties should meet, confer, and file their Rule 26(f)
report by 29 June 2018. In addition to complying with Local Rule 26.1,
the parties should estimate how many six-hour trial days are needed.

     3.    Based on the parties’ report, the Court will either issue the
Final Scheduling Order as proposed, issue a revised version of it, or
hold a Rule 16(b) conference.

     4.    The Court encourages the parties to consider and confer
now about consenting to the randomly assigned Magistrate Judge
presiding over this case. Our Court's Magistrate Judges are able,
experienced, and available.


April 2017
         Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 2 of 6




                              AT THE DIRECTION OF THE COURT
                              JAMES W. McCORMACK, CLERK


                              By:     /s/ Sherri Black
                                    Courtroom Deputy to
                                    Judge D.P. Marshall Jr.

                                    8 May 2018




                                     -2-
April 2017
            Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 3 of 6



                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         JONESBORO DIVISION

TROY JONES, Individually and
on behalf of All Others Similarly Situated                                       PLAINTIFF

 v.                                 No. 3:18-cv-24-DPM

HAGAMAN PROPERTY
DEVELOPMENT, LLC                                                           DEFENDANTS


                     DRAFT FINAL SCHEDULING ORDERC
                        CLASS/COLLECTIVE ACTION

  Pursuant to Federal Rule of Civil Procedure 16(b), the Court orders:

      ! Deadline to request any
        pleading amendment ............................................ 5 November 2018

      ! Joint status report due ............................................ 4 December 2018

      ! Plaintiff shall identify all
        expert witnesses and produce
        their opinions by ......................................................... 4 January 2019

      ! Defendants shall identify all
        expert witnesses and produce
        their opinions by ....................................................... 4 February 2019

      ! Discovery ends on the named-
        plaintiff=s claims and the
        class/collective-action issues ....................................... 4 March 2019




April 2017
          Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 4 of 6




   ! Joint status report, including
     settlement conference request, due……..……………..4 April 2019

   ! Motions due1 .................................................................... 4 April 2019

   ! Bench Trial, Jonesboro Courtroom 324 ............. 4 November 2019

   ! Amending Pleadings.       Local Rule 5.5(e) requires a party to
     attach the proposed amended pleading to the motion. Please
     make this attachment a redline or comparison copy showing all
     proposed changes. Counsel should confer about proposed
     amendments. State in your motion to amend whether the
     change is agreed or opposed.

   ! Protective Orders. Before filing a motion for approval, counsel
     should email a draft order in WordPerfect or Word to chambers
     for review. Alert the law clerk on the case to the draft=s
     submission. Avoid legalese. Short, plain orders are better than
     long, complicated ones.       Incorporate Fed. R. Civ. P. 5.2's
     mandate for redaction if practicable before any filing under seal.
     The order should remain in effect no longer than one year after
     litigation ends, not in perpetuity. Incorporate the procedure for
     discovery disputes, see infra, to cover disputes about whether a
     document is confidential.

   ! Discovery Disputes. Counsel should confer in good faith in
     person before bringing any discovery dispute to the Court. Do
     not file motions to compel. Do not file a motion to quash or for
     protective order unless there is an emergency. If the parties
      1
           This deadline applies to motions for class certification and conditional
certification of a collective action. It also applies to any defense motion on the merits,
such as a motion for summary judgment. Note and follow the procedures specified infra
where applicable. Complete condensed deposition transcripts, specific record citations,
and courtesy copies of voluminous filings are always helpful to the Court and
appreciated.

                                              -2-
April 2017
         Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 5 of 6



      reach a discovery impasse, they should file a joint report
      explaining the disagreement. File this paper under the CM/ECF
      event called “Joint Report of Discovery Dispute”. Your joint
      report must not exceed ten pages, excluding the style and
      signature block. Each side gets five pages. Do not file a motion
      asking for more pages. Use double spacing and avoid footnotes.
      Attach documents (such as disputed written discovery or
      responses) as needed. Redact any attachments as required by
      Federal Rule of Civil Procedure 5.2 to protect confidential
      information.     File the joint report sufficiently before the
      discovery cutoff so that the dispute can be resolved, and any
      additional discovery completed, without undermining other
      pretrial deadlines. The Court will rule or schedule a hearing.
      Alert the law clerk on the case to the joint report’s filing. If a
      dispute arises during a deposition, call chambers so the Judge can
      rule during the deposition.

   ! Summary Judgment. Motions must comply with Federal Rule
     of Civil Procedure 56 and Local Rules 7.2 and 56.1. Make the
     complete condensed transcript of any deposition cited an exhibit.
     Limit your Rule 56.1 statements to material facts. Include a
     specific supporting record citation for each fact asserted.
     Responding statements of fact must repeat the statement being
     responded toClike a discovery response. Include a specific
     supporting record citation for each fact disputed or asserted in the
     responding statement. A party=s substantial failure to follow
     these procedures will result in the party having to correct its
     filing. If the summary judgment papers are voluminous, the
     Court would appreciate the parties sending a courtesy paper copy
     to chambers. Any movant may reply within seven calendar days
     of a response to a motion for summary judgment.

   ! Conflicts Of Interest. Counsel must check the Court's list of
     recusal list on file in the U.S. District Clerk's Office to determine


                                     -3-
April 2017
         Case 3:18-cv-00024-DPM Document 5 Filed 05/08/18 Page 6 of 6



      whether there is any conflict that might require recusal. If any
      party is a subsidiary or affiliate of any company in which the
      Court has a financial interest, counsel should bring that fact to the
      Court's attention immediately.

     Please communicate with Sherri Black, Courtroom Deputy, by e-
mail at sherri_black@ared.uscourts.gov to check your position on the
calendar as the trial date approaches. In the event of settlement,
advise Sherri Black immediately.


                              AT THE DIRECTION OF THE COURT
                              JAMES W. McCORMACK, CLERK


                              By:     /s/ Sherri Black
                                    Courtroom Deputy to
                                    Judge D.P. Marshall Jr.

                                    8 May 2018




                                     -4-
April 2017
